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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                               CASE NO. 16-CR-20091-WILLIAMS(s)


  UNITED STATES OF AMERICA,

                         Plaintiff,

  v.

  BARTOLO HERNANDEZ, et al.

                    Defendants.
  _________________________________/

                        NOTICE OF LIS PENDENS RE: FORFEITURE

  GRANTEE: Jose Abreu Correa

  TO:    ALL PERSONS WHO MAY CLAIM BY, THROUGH, OR UNDER EITHER THE
         DEFENDANT AND/OR GRANTEE any interest in the real property described
         hereinunder.

         NOTICE IS HEREBY GIVEN, pursuant to the provisions of F.S. § 48.23, as made

  applicable hereto by the provisions of 28 U.S.C. § 1964, that on September 6, 2017, a Preliminary

  Order of Forfeiture was entered in the United States District Court for the Southern District of

  Florida in the foregoing action.

         Pursuant to Title 18, United States Code, Section 982(a)(6), the United States of America

  is forfeiting the real property located at 109 Buttonwood Lane, Layton, Florida, 33301, and

  includes all buildings, improvements, fixtures, attachments and easements found therein or

  thereon, and is more particularly described as:

         Lot 19, Block 4, LONG KEY ESTATE 2nd Addition, according to the Plat thereof in the
         Plat Book 4, Page 127, less the Northerly 2.5 feet of land conveyed in Official Record
         Book 390, Page 1073 and Official Record Book 390, Page 1041, of the Public Records of
         Monroe County, Florida.
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         The record owner of the realty is Jose Abreu Correa, by virtue of a Warranty Deed,

  recorded in the public records of Monroe County, Florida, in Official Book # 2742, Page 1383,

  on May 27, 2015.

         Further information concerning this action may be obtained from the records of the Clerk

  of Court for the United States District Court at Miami, Florida.

                                               Respectfully submitted,

                                               BENJAMIN G. GREENBERG
                                               ACTING UNITED STATES ATTORNEY


                                        BY:    /s/Evelyn B. Sheehan
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  This instrument was
  prepared by:

  EVELYN B. SHEEHAN
  ASSISTANT U.S. ATTORNEY




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